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13

14                       UNITED STATES DISTRICT COURT
15                     CENTRAL DISTRICT OF CALIFORNIA
16

17   SPACE EXPLORATION                         Case No. 2:24-cv-08893-SB-SK
     TECHNOLOGIES CORP.,
18
                 Plaintiff,
19
           v.                                  FIRST AMENDED COMPLAINT
20                                             FOR DECLARATORY RELIEF,
     CALIFORNIA COASTAL                        INJUNCTIVE RELIEF, AND
21   COMMISSION, a California state            DAMAGES
     agency; CARYL HART, in her personal
22   capacity and her official capacity as a
     Commissioner and Chair of the             DEMAND FOR JURY TRIAL
23   Commission; PALOMA AGUIRRE, in
     her official capacity as a Commissioner
24   of the Commission; DAYNA
     BOCHCO, in her official capacity as a
25   Commissioner of the Commission;
     JUSTIN CUMMINGS, in his personal
26   capacity and his official capacity as a
     Commissioner of the Commission;
27   LINDA ESCALANTE, in her official
     capacity as a Commissioner of the
28   Commission; MEAGAN HARMON, in


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 1   her official capacity as a Commissioner
     of the Commission; SUSAN
 2   LOWENBERG, in her official capacity
     as a Commissioner of the Commission;
 3   ANN NOTTHOFF, in her official
     capacity as a Commissioner of the
 4   Commission; CATHERINE RICE, in
     her personal capacity and her official
 5   capacity as a Commissioner of the
     Commission; EFFIE TURNBULL-
 6   SANDERS, in her official capacity as a
     Commissioner of the Commission;
 7   ROBERTO URANGA, in his official
     capacity as a Commissioner of the
 8   Commission; MIKE WILSON, in his
     personal capacity and his official
 9   capacity as a Commissioner of the
     Commission; and GRETCHEN
10   NEWSOM, in her personal capacity and
     her official capacity as Alternate
11   Commissioner of the Commission;
     KATE HUCKELBRIDGE, in her
12   official capacity as the Executive
     Director of the Commission; and
13   CASSIDY TEUFEL, in his official
     capacity as Deputy Director of the
14   Commission’s Energy, Ocean
     Resources, and Federal Consistency
15   Division,
16               Defendants.
17
                                 I.    INTRODUCTION
18
           1.    This case is about a state agency—Defendant California Coastal
19
     Commission (the Commission)—egregiously and unlawfully overreaching its
20
     authority. First, the Commission has engaged in naked political discrimination
21
     against Plaintiff Space Exploration Technologies Corp. (SpaceX) in violation of the
22
     rights of free speech and due process enshrined in the First and Fourteenth
23
     Amendments of the U.S. Constitution. Rarely has a government agency made so
24
     clear that it was exceeding its authorized mandate to punish a company for the
25
     personal political views and statements of its largest shareholder and CEO. Second,
26
     the Commission is trying to unlawfully regulate space launch programs—which are
27
     critical to national security and other national policy objectives—at Vandenberg
28

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 1   Space Force Base (the Base), a federal enclave and the world’s second busiest
 2   spaceport.
 3         2.     The Commission, an agency of the State of California, is charged with
 4   regulating the use of land and water within the state’s coastal zone. For decades, the
 5   Commission has, without fail, agreed with the longstanding position of the U.S.
 6   Department of the Air Force (Air Force) that the Base’s commercial space launch
 7   programs are federal agency activities that are not subject to the Commission’s
 8   permitting authority or control. Indeed, from its formation in 1972 until now, the
 9 Commission never once disputed this. And for decades, the Commission has

10 repeatedly concurred in determinations by the Air Force pursuant to the Coastal

11 Zone Management Act (CZMA) that the Base’s launch programs are consistent with

12 policies protecting California’s coastal resources. Even today, the Commission

13 continues to treat every other commercial launch operator’s launch programs at the

14 Base as federal agency activities, as demonstrated by recent concurrences relating to

15 other commercial launch providers.

16         3.     Now, however, years after the Base’s Falcon 9 program was first
17 approved by the Air Force and other federal agencies—and after the Commission

18 itself recently found Falcon 9 launches are consistent with coastal resource

19 protections—the Commission has decided to ignore the law, longstanding federal

20 policy, its own established practices and findings, and the legal and constitutional

21 limitations on its authority to impose a different standard on SpaceX. Specifically,

22 at an October 10, 2024 hearing, the Commission refused to concur with a proposal

23 by the Air Force to increase from 36 to 50 the number of launches that SpaceX can

24 perform at the Base. And the Commission now insists that SpaceX’s launch program

25 at the Base is federally licensed or permitted activity, and that SpaceX must obtain

26 a coastal development permit (CDP) from the Commission to conduct launches,

27 regardless of compliance with the CZMA.

28         4.     Before the Commission’s October 2024 hearing on the Air Force’s

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 1   proposal, the Air Force completed a comprehensive environmental review involving
 2   numerous federal agency partners, and it worked with the Commission to identify
 3 and implement a host of measures—far beyond what is legally required—to mitigate

 4 any impact that the increased launch cadence might have on coastal resources. The

 5 Commission’s own staff recommended concurrence in detailed staff reports. But at

 6 the hearing, the Commission nonetheless voted 6-4 not to concur. At the hearing,

 7 both the Commissioners and staff also again demanded that SpaceX obtain a CDP

 8 to conduct launches, even though the Commission has never required other operators

 9 to obtain one.

10         5.    The Commission’s public-hearing record shows it acted based on overt
11 political bias. There was no pretext—the political basis of the Commission’s action

12 was plain for all to see. Several Commissioners expressly stated that they decided

13 not to concur based not on concerns about impacts to coastal resources, but instead

14 on the political views held by SpaceX’s largest shareholder and CEO, Elon Musk.

15 And several Commissioners made biased and retaliatory comments in demanding

16 that SpaceX obtain a burdensome permit and be subject to additional regulatory

17 control by the Commission, regardless of CZMA compliance.

18         6.    As Commissioner Caryl Hart said at the October 2024 hearing, the basis
19 for the decision was not that a commercial operator with a space launch program at

20 the Base was increasing its annual launch cadence, but rather that SpaceX was doing

21 so: “The concern is with SpaceX increasing its launches, not with the other

22 companies increasing their launches . . . we’re dealing with a company . . . the head

23 of which has aggressively injected himself into the Presidential race and made it

24 clear what his point of view is.” Other Commissioners weighed in with similarly

25 biased, irrelevant concerns about Mr. Musk’s politics, including the following, for

26 example:

27               a. Commissioner Gretchen Newsom read a prepared statement
28                  complaining about “Elon Musk [] hopping about the country,

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 1                       spewing and tweeting political falsehoods and attacking FEMA
 2                       while claiming his desire to help the hurricane victims with free
 3                       Starlink access to the internet.”
 4               b. Commissioner Mike Wilson proclaimed his concerns that Mr. Musk
 5                       controls “one of the most extensive communications networks on
 6                       the planet,” and that, “just last week,” Mr. Musk was “speaking
 7                       about political retribution on a national stage.”
 8               c. Commissioner Dr. Justin Cummings “share[d] some concerns . . .
 9                       Commissioner Wilson brought up” regarding use of Starlink and
10                       Mr. Musk’s political beliefs: “And so while . . . we are all trying to
11                       operate in this apolitical space, we do know that the person who
12                       controls these companies has enough power to not work in the best
13                       interest, when they feel like it, of our allies.”
14         7.    Even leaving aside their irrelevance to the decision, these purported
15 “concerns” are based on a gross misunderstanding of the actual facts, which show

16 SpaceX’s vital support of the military and civilian interests of both the United States
                     1
17 and its allies.

18         8.    To make it even clearer that the Commission’s decision was based on
19   political biases and other irrelevant, misplaced concerns, the Commission recently
20   approved another commercial space launch operator launching up to 60 times a year
21   from the Base. The Commission accepted that this other operator’s launch program,
22   including launches of commercial payloads, is federal agency activity that does not
23   require a CDP. Apart from their disagreement with Musk’s personal politics, no
24   Commissioner identified any basis to distinguish that operator’s launch program
25
     1
26   Officials with the U.S. Department of Defense and the Ukrainian government
27
   officials have repeatedly rebutted the Commissioners’ false allegations that SpaceX
   acted in a manner contrary to U.S. national security interests. See infra 33-34 at
28 footnote 11.

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 1   from SpaceX’s.
 2         9.     Thankfully, the fundamental rights of free speech and due process
 3   enshrined in the Constitution prohibit precisely this kind of political witch-hunting
 4   and abuse of power by state-agency officials.
 5         10.    But the Commission’s unconstitutional overreach does not stop at
 6 punishing SpaceX for its largest shareholder and CEO’s constitutionally protected

 7 speech, beliefs, and practices that have no relevance to the proposed launches’

 8 effects on coastal resources—the actual issue pending before the Commission. Its

 9 actions to regulate the Falcon 9 launch program are further prohibited by three

10 additional, separate legal principles:

11                a. The Commission’s decision interferes with the operations of the
12                    national space launch program conducted at a U.S. Air Force base.
13                    The CZMA gives the federal government, not state governments,
14                    power to control federal agency activities on federal land. This
15                    exclusive authority and broad area of federal control preempts any
16                    application of state law, especially state law that would interfere
17                    with the federal government’s control of operations on a U.S.
18                    military base.
19                b. The launch facilities at the Base are situated on a “federal enclave”
20                    protected by the Constitution from state regulation. Military bases
21                    are paradigmatic examples of federal enclaves that the Constitution
22                    expressly places under exclusive federal jurisdiction. The
23                    Commission’s intrusion upon national defense and intelligence
24                    interests and the operations of the U.S. military on a federal enclave
25                    is clearly prohibited.
26                c. The Commission’s own governing statute, the California Coastal
27                    Act of 1976 (Coastal Act), expressly states that it does not apply to
28                    federal land—going so far as to define “coastal land” subject to the

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 1                    law to exclude all federal territory. The Commission’s decision
 2                    therefore violates the very foundation of the Commission’s
 3                    purported authority.
 4         11.    Finally, the Commission’s purported justification for intruding into the
 5   national security and other federal interests implicated by SpaceX’s launch
 6   program—that some of SpaceX’s launches at the Base are commercial—misses the
 7   mark. The Base’s entire Falcon 9 launch program is critical to the national security
 8   and space transportation interests of the United States. The Commission’s effort to
 9   separate out launches that it labels as driven by purely commercial interests is both
10   misinformed and inconsistent with federal law, policy, and defense strategy.
11         12.    For these reasons, the Commission’s punitive decision, violating core
12   Constitutional protections of free speech and due process, undermines U.S. national
13   security and is blatantly illegal, trampling over (i) federal law; (ii) exclusive federal
14   jurisdiction over military bases and other federal enclaves; and (iii) the
15 Commission’s own governing statutory boundaries.

16         13.    Through this lawsuit, SpaceX seeks to protect these fundamental rights
17 by (i) obtaining a declaration that the Commission’s actions unconstitutionally

18 punish SpaceX, impermissibly usurp federal law governing federal land and federal

19 programs, and even vault past the statutory boundaries limiting the Commission’s

20 authority; (ii) enjoining the Commission from enforcing the Coastal Act’s permit

21 requirements against SpaceX; and (iii) assessing compensatory and punitive

22 damages against those Commissioners whose animus against SpaceX and its CEO

23 motivated the Commission’s biased, retaliatory actions.

24                                      II.    PARTIES
25         14.    Plaintiff SpaceX is a privately held American space technology and
26 transportation company that is incorporated and headquartered in Texas. SpaceX

27 maintains facilities at and launches Falcon 9 rockets from Space Launch Complex 4

28 (SLC-4) at the Base in Santa Barbara County, California. Elon Musk is the largest

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 1   shareholder of SpaceX. He serves as its CEO and chairs its board of directors.
 2         15.   Defendant California Coastal Commission is a quasi-judicial state
 3   agency created by the California Coastal Act of 1976, California Public Resources
 4   Code §§ 30000 et seq., with the express power to sue and be sued in federal court.
 5 See Pub. Res. Code §§ 30334(b), 30803(a).

 6         16.   Individual Defendant Caryl Hart is and at all relevant times was a
 7 voting Commissioner and Chair of the Commission.

 8         17.   Individual Defendant Paloma Aguirre is and at all relevant times was a
 9 voting Commissioner of the Commission.

10         18.   Individual Defendant Dayna Bochco is and at all relevant times was a
11 voting Commissioner of the Commission.

12         19.   Individual Defendant Justin Cummings is and at all relevant times was
13 a voting Commissioner of the Commission.

14         20.   Individual Defendant Linda Escalante is and at all relevant times was a
15 voting Commissioner of the Commission.

16         21.   Individual Defendant Meagan Harmon is and at all relevant times was
17 a voting Commissioner of the Commission.

18         22.   Individual Defendant Susan Lowenberg is and at all relevant times was
19 a voting Commissioner of the Commission.

20         23.   Individual Defendant Ann Notthoff is and at all relevant times was a
21 voting Commissioner of the Commission.

22         24.   Individual Defendant Catherine Rice is and at all relevant times was a
23 voting Commissioner of the Commission.

24         25.   Individual Defendant Effie Turnbull-Sanders is and at all relevant times
25 was a voting Commissioner of the Commission.

26         26.   Individual Defendant Roberto Uranga is and at all relevant times was a
27 voting Commissioner of the Commission.

28         27.   Individual Defendant Mike Wilson is and at all relevant times was a

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 1   voting Commissioner of the Commission.
 2         28.    Individual Defendant Gretchen Newsom at all relevant times was
 3   Alternate for Commissioner Ann Notthoff. Ms. Newsom served as a voting
 4 Commissioner on matters relating to the Falcon 9 launch program at the Base.

 5         29.    Individual Defendant Kate Huckelbridge is and at all relevant times was
 6 the Executive Director of the Commission. Defendant Huckelbridge is responsible

 7 for the direction and supervision of activities undertaken by the Commission.

 8         30.    Individual Defendant Cassidy Teufel is and at all relevant times was
 9 Deputy Director of the Commission’s Energy, Ocean Resources, and Federal

10 Consistency Division.

11         31.    The individual Defendants named above (collectively referred to as the
12 “Individual Defendants”) are officers or agents of the Commission and are being

13 sued in their official capacities as officers or agents of the Commission, in

14 connection with SpaceX’s claims for declaratory and injunctive relief and for

15 attorney’s fees and costs. In these official capacities, the Individual Defendants and

16 their employees, officers, agents, and assigns are charged with following and

17 implementing the federal and state laws and regulations governing the management

18 of California’s coastal resources.

19         32.    In addition, the following Individual Defendants are also sued in their
20 personal capacities for one or more claims for damages under 42 U.S.C. § 1983:

21   Commissioners Hart, Wilson, Rice, Cummings, and Newsom, as set forth below.
22                         III.    JURISDICTION AND VENUE
23         33.    This Court has subject-matter jurisdiction over this action pursuant to
24   28 U.S.C. §§ 1331 (federal question jurisdiction) and 1343(a)(3) (federal civil-rights
25   jurisdiction). This action asserts claims arising under the Supremacy Clause, U.S.
26   Const. Art VI, cl. 2; the doctrine of federal preemption; the CZMA, 16 U.S.C.
27   §§ 1451, et seq.; the First and Fourteenth Amendments to the U.S. Constitution; 42
28   U.S.C. § 1983; and 42 U.S.C. § 1988.

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 1         34.    This Court also has subject-matter jurisdiction under 28 U.S.C. § 1331
 2   based on U.S. Const. Art. I, § 8, cl. 17 and the federal enclave doctrine, which
 3   provide that conduct on a federal enclave is governed by federal law. This case
 4   concerns a space launch program on Vandenberg Space Force Base, and “[i]t is well-
 5   settled . . . that Vandenberg is a federal enclave under the federal government’s
 6   exclusive legislative jurisdiction—and has been since 1943.” Haining v. Boeing Co.,
 7   No. 2:12-CV-10704-ODW, 2013 WL 4874975, at *2 (C.D. Cal. Sept. 11, 2013)
 8   (citing Taylor v. Lockheed Martin Corp., 78 Cal. App. 4th 472, 480-81 (2000)). As
 9 such, any state law that purportedly vests the Commission with jurisdiction does not

10   apply on the Base. The State did not reserve jurisdiction to regulate activity on the
11   Base when it ceded the land to the federal government. And Congress has not
12   expressly provided that the Base is subject to the Coastal Act, a state law enacted
13 long after the federal government assumed jurisdiction.

14         35.    In addition to having original jurisdiction under the federal enclave
15 doctrine, this Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

16 SpaceX’s claim under the Coastal Act. That claim is so related to the federal causes

17 of action that they together form part of the same case or controversy.

18         36.    This Court is empowered to provide declaratory and injunctive relief in
19 this action pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202,

20 and Federal Rules of Civil Procedure 57 and 65. This Court has jurisdiction to order

21 prospective relief in the form of a declaratory judgment and an injunction against

22 Defendants to end continuing violations of federal law by the Commission’s officers

23 and employees acting in their official capacities as officers of an agency of the State

24 of California. It also has jurisdiction to award SpaceX compensatory and punitive

25 damages for its injuries.

26         37.    Venue is proper in this judicial district pursuant to 28 U.S.C.
27 § 1391(b)(1) and (b)(2) because a substantial part of the events giving rise to this

28 action occurred in this District, including the launch operations at the Base that

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 1   Defendants seek to regulate in violation of federal law. Additionally, the
 2   Commission and individual Defendants maintain an office in Ventura, California,
 3   which is in this District.
 4         38.    SpaceX has satisfied all exhaustion requirements, or no such
 5   requirements may be applied to SpaceX on the claims and facts alleged in this
 6   Complaint.
 7                                IV.    LEGAL BACKGROUND
 8   A.    Coastal Zone Management Act
 9         39.    Congress enacted the CZMA in 1972 “to preserve, protect, develop,
10   and, where possible, to restore or enhance the resources of the Nation’s coastal
11   zone.” 16 U.S.C. § 1452.
12         40.    The “coastal zone” includes “coastal waters,” “adjacent shorelands,”
13   “islands, transitional and intertidal areas, salt marshes, wetlands, and beaches.” It
14   excludes “lands the use of which is by law subject solely to the discretion of . . . the
15   Federal Government.” Id. § 1453(1).
16         41.    Coastal states implement the CZMA’s policies through federally
17   approved coastal management programs. Id. § 1455(d). A coastal management
18 program must identify, among other things, the state’s coastal zone boundaries,

19 permissible coastal uses, and “enforceable policies” governing coastal zone use. Id.;

20 see id. § 1453(6a) (defining enforceable policy). States must exclude from their

21 coastal zones “lands owned, leased, held in trust or whose use is otherwise by law

22 subject solely to the discretion of the Federal Government, its officers or agents.” 15

23 C.F.R. § 923.33(a).

24         42.    Section 307 of the CZMA requires federal agencies to coordinate with
25 coastal states to ensure that federal action “within or outside the coastal zone that

26 affects” coastal resources is consistent with the enforceable policies of approved

27 coastal management programs. 16 U.S.C. § 1456(c). This is known as “federal

28 consistency review.”

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 1         43.    The CZMA and its implementing regulations identify different types of
 2   federal agency actions requiring federal consistency review and establish distinct
 3   review procedures for each type. Two types of actions reviewable under the CZMA
 4   are relevant here: “federal agency activity” and “federally licensed or permitted
 5   activity.” See 15 C.F.R. Pt. 930 Subpts. C & D.
 6         44.    Federal agency activity includes “any functions performed by or on
 7   behalf of a federal agency in the exercise of its statutory responsibilities.” 16 U.S.C.
 8   § 1456(c)(1)(A); 15 C.F.R. § 930.31(a). Federal agency activity need only be
 9 “consistent to the maximum extent practicable” with a federally approved coastal

10 management program. 16 U.S.C. § 1456(c)(1)(A); 15 C.F.R. § 930.32(a)(1). At least

11 90 days before approving federal agency activity, federal agencies must notify the

12 state either that the activity will not have coastal effects (by submitting a “negative

13 determination”) or that the activity having coastal effects will be consistent to the

14 maximum extent practicable with the enforceable policies of the state’s approved

15 coastal management program (by submitting a “consistency determination”). 16

16 U.S.C. § 1456(c)(1)(C); 15 C.F.R. §§ 930.35, 930.36. The state may either concur

17 or object. 15 C.F.R. § 930.41. The state may also issue a “conditional concurrence”

18 subject to specific conditions, which is treated as an objection if the federal and state

19 agencies cannot come to an agreement on the state’s conditions. Id. § 930.4.

20 Ultimately, federal agency activity can proceed over the state’s objection if the

21 agency concludes the activity is consistent to the maximum extent practicable. Id.

22         45.    Another type of federal action subject to consistency review is
23   “[f]ederally licensed or permitted activity” (hereinafter, “federally permitted
24   activity”). 16 U.S.C. § 1456(c)(3)(A); 15 C.F.R. § 930.51. Federally permitted
25   activity must be fully consistent with the enforceable policies of a coastal
26   management program. 16 U.S.C. § 1456(c)(3)(A); 15 C.F.R. § 930.57. A state may
27   review only those federally permitted activities affecting the coastal zone that are
28   listed in its coastal management program. The state can request permission from the

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 1   National Oceanic and Atmospheric Administration (NOAA) to review unlisted
 2   activities, but unlisted activities are otherwise not subject to state review. 15 C.F.R.
 3   § 930.54. To demonstrate consistency, the federal permit applicant must submit a
 4   consistency certification to the state. 16 U.S.C. § 1456(c)(3)(A); 15 C.F.R. § 930.57.
 5   The state has six months to review a certification. 15 C.F.R. §§ 930.60(a), 930.62(a).
 6   If the state objects to the certification, the federal agency is prohibited from issuing
 7   the permit, and the activity cannot proceed, unless the Secretary of Commerce finds
 8   the activity “is consistent with the objectives” of the CZMA “or is otherwise
 9   necessary in the interest of national security,” thus overriding the state’s objection.
10   16 U.S.C. § 1456(c)(3)(A); 15 C.F.R. § 930.64; see 15 C.F.R. Pt. 930 Subpt. H
11 (appeal process).

12 B.      California Coastal Act
13         46.    The Coastal Act serves as California’s implementation of the CZMA
14   and constitutes “California’s coastal zone management program within the coastal
15   zone for purposes of the [CZMA].” Cal. Pub. Res. Code § 30008.
16         47.    The Coastal Act established the Commission as the California state
17 agency responsible for reviewing federal agency actions affecting the coastal zone

18 for consistency with the federally approved California coastal management program.

19 Id. § 30330.

20         48.    The Commission includes twelve voting members who are selected by
21 the Governor, the Senate Committee on Rules, and the Speaker of the Assembly, six

22 of whom are elected officials of local governments and six of whom are appointed

23 from the public at large. Id. § 30301.

24         49.    California’s coastal zone includes the land and water area of “the State
25 of California” extending seaward to the outer limit of the State’s jurisdiction and

26 inland generally 1,000 yards from the mean hightide line. Id. § 30103. The Coastal

27 Act recognizes that federal land is “excluded from the coastal zone pursuant to [the

28 CZMA].” Id. § 30008; see also 15 U.S.C. § 1453(1); NOAA & California Coastal

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 1   Commission, Combined State of California Coastal Management Program and
 2   Final Environmental Impact Statement at 40 (Aug. 1977).
 3         50.    The Base is federal land that is excluded from the coastal zone.
 4         51.    The Coastal Act requires a CDP for development within the coastal
 5   zone. Id. § 30600(a). The Commission or a local jurisdiction with permitting
 6 authority must issue a CDP if a proposed development will be consistent with the

 7 enforceable policies of the Coastal Act. Id. §§ 30604(a), 30200(a).

 8         52.    Development outside the coastal zone is not subject to the Coastal Act’s
 9 CDP requirement, even if it causes impacts inside the coastal zone. Id. § 30604(d);

10 14 Cal. Code. Regs. § 13050.5(b); Sierra Club v. Cal. Coastal Comm’n, 35 Cal. 4th

11 839, 848, 855 (2005).

12                          V.     FACTUAL BACKGROUND
13 A.      SpaceX and its service to the U.S. Space Program
14         53.    SpaceX was founded in 2002 with the audacious goal of making life
15   multiplanetary. In the 22 years since, the company has made giant strides toward
16   that goal, transforming the space launch industry in the process and becoming the
17   world’s leading launch services provider. SpaceX’s customers include NASA, the
18   United States defense and intelligence communities, foreign governments, and
19   commercial satellite operators and telecommunications companies around the world.
20         54.    SpaceX’s Falcon 9 rocket is the most reliable rocket ever flown. Falcon
21   rockets have performed well over 400 successful missions with a success rate well
22   over 99%. Falcon first stages are the only orbital-class rocket stages capable of
23   landing, recovery, and reuse, and SpaceX has successfully landed and reused them
24   well over 300 times to date. This substantially reduces marine debris associated with
25   rocket launches. SpaceX first launched Falcon 9 from the Base in 2013. It conducted
26   28 Falcon 9 launches from the Base in 2023 alone.
27         55.    SpaceX is one of only two launch services providers certified to
28   perform the most critical launches for the United States’ national security and

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 1   intelligence communities. In 2020, the Space Force, which is within the Air Force,
 2   selected SpaceX to launch not less than 40% of all National Security Space Launch
 3   (NSSL) payloads for the U.S. government through at least 2027. Due to challenges
 4   with the other awardee’s launch vehicle readiness, SpaceX has actually been
 5   assigned more than 50% of NSSL missions during this contract period. SpaceX’s
 6   Falcon rockets are critical to fulfilling the U.S. government’s NSSL missions, as it
 7   remains the only operational launch system currently certified to launch such
 8   missions. Falcon 9 is also the only American launch vehicle currently routinely
 9   delivering astronauts, supplies, and science to the International Space Station for
10   NASA.
11         56.    The U.S. government recognizes that all of SpaceX’s launches,
12   including its commercial launches, contribute to the overall national security space
13   launch enterprise. As a certified NSSL program launch services provider, SpaceX is
14   contractually required to share data with the U.S. Government for every single one
15   of its launches, whether carrying a U.S. government payload or not. This mandatory
16   federal government data collection is conducted pursuant to U.S. government
17   mission assurance activities for which the U.S. Government pays SpaceX.
18         57.    Falcon 9 also delivers Starlink and Starshield satellites into orbit.
19   Starshield, leveraging the Starlink satellite constellation and ground infrastructure,
20   provides secure satellite communications to multiple agencies within the
21   Department of Defense. In 2023, the Space Force awarded SpaceX an initial $70-
22   million contract to bolster Starshield’s capabilities, using Starlink infrastructure for
23   critical national security, defense, and emergency response operations for the
24   Department of Defense and other U.S. federal agencies. See Unshin Lee Harpley,
25   Space Force Awards Contract to SpaceX for Starshield, Its New Satellite Network,
26   AIR & SPACE FORCES MAGAZINE (Oct. 4, 2023), https://www.airandspaceforces.com
27   /space-force-contract-spacex-starshield/.
28         58.    Separately, SpaceX has other, very substantial, national security space

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 1   contracts with the U.S. Government relating to Starshield. The Department of
 2 Defense recently increased its project spending on the military’s Proliferated Low

 3 Earth Orbit Satellite-Based Services program more than tenfold, from $900 million

 4 to more than $13 billion. Under the original $900 million budget, most of the task

 5 orders were awarded to Starshield. See Sandra Erwin, Pentagon’s Commercial

 6 Satellite Internet Services Program Soars to $13 Billion, SPACENEWS (Oct. 29,

 7 2024), https://spacenews.com/pentagons-commercial-satellite-internet-services-pro

 8   gram-soars-to-13-billion/.
 9         59.    SpaceX’s launches carrying Starlink satellites are thus necessary for
10   SpaceX to fulfill critical contractual obligations to U.S. government agencies related
11 to the implementation of the Starshield program.

12 B.      The federal government’s reliance on commercial space operators
13         60.    For decades, Congress has recognized the critical importance of
14 commercial space launch operators like SpaceX to the nation’s space program. In

15 the Commercial Space Launch Act of 1994, as amended, Congress found that “the

16 private sector in the United States has the capability of developing and providing

17 private launching, reentry, and associated services that would complement the

18 launching, reentry, and associated capabilities of the United States Government.” 51

19 U.S.C. § 50901(a)(4). Congress also found “space transportation . . . is an important

20 element of the transportation system of the United States, and in connection with the

21 commerce of the United States there is a need to develop a strong space

22 transportation infrastructure with significant private sector involvement.” Id.

23 § 50901(a)(8).

24         61.    In the National Defense Authorization Act of 2004, Congress declared
25 it “the policy of the United States for the President to undertake actions appropriate

26 to ensure, to the maximum extent practicable, that the United States has the

27 capabilities necessary to launch and insert United States national security payloads

28 into space whenever such payloads are needed in space.” 10 U.S.C. § 2273(a). Such

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 1   actions include “at a minimum, providing resources and policy guidance to sustain”
 2   (id. § 2273(b)):
 3                (1) the availability of at least two space launch vehicles (or
                  families of space launch vehicles) capable of delivering
 4                into space any payload designated by the Secretary of
                  Defense or the Director of National Intelligence as a
 5                national security payload;
 6                (2) a robust space launch infrastructure and industrial
                  base; and
 7
                  (3) the availability of rapid, responsive, and reliable space
 8                launches for national security space programs to--
 9                (A) improve the responsiveness and flexibility of a
                  national security space system;
10
                  (B) lower the costs of launching a national security space
11                system; and
12                (C) maintain risks of mission success at acceptable levels.
13

14         62.    In the National Defense Authorization Act of 2013, Congress directed
15   the Department of Defense to “maximize the use of the capacity of the space
16   transportation infrastructure of the [Department of Defense] by the private sector of
17   the United States” and to “encourage commercial space activities by enabling
18   investment . . . in the space infrastructure of the [Department of Defense].” Id.
19   § 2276(a). In the National Defense Authorization Act of 2024, Congress again
20   emphasized the central role of the private sector in space-related defense activities.
21   For example, Congress enabled the “Secretary of a military department” to “provide
22   to [] commercial entit[ies] supplies, services, [and] equipment” as needed to increase
23   commercial space launch capacity. Pub. Law 118-31 § 1603(b).
24         63.    Consistent with these statutory directives, the Department of Defense
25   has for many years contracted with commercial operators like SpaceX to carry out
26   national space program activities, and now relies exclusively on commercial launch
27   services. The Department of Defense has made clear that advancing the country’s
28   national defense and security goals requires “increase[d] collaboration with the

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 1   private sector in priority areas, especially with the commercial space industry,
 2   leveraging its technological advancements and entrepreneurial spirit to enable new
 3   capabilities.” Department of Defense, 2022 National Defense Strategy at 19-20,
 4   available at https://media.defense.gov/2022/Oct/27/2003103845/-1/-1/1/2022-NAT
 5   IONAL-DEFENSE-STRATEGY-NPR-MDR.PDF. The Department of Defense has
 6   also said it “will benefit by making commercial solutions integral—and not just
 7   supplementary—to national security space objectives.” Department of Defense,
 8   Commercial Space Integration Strategy (2024) at 1, available at https://media.defe
 9   nse.gov/2024/Apr/02/2003427610/-1/-1/1/2024-DOD-COMMERCIAL-SPACE-
10   INTEGRATION-STRATEGY.PDF.
11         64.    The U.S. Space Force also recently explained that commercial space
12   capabilities, including launches, are critical to the national security interests of the
13   United States. Department of the Air Force, U.S. Space Force Commercial Space
14   Strategy (Apr. 8, 2024), available at https://www.spaceforce.mil/Portals/2/Docume
15   nts/Space%20Policy/USSF_Commercial_Space_Strategy.pdf.
16   C.    Commercial space launch operations at Vandenberg Space Force Base
17         65.    The military has owned and operated the Base for almost 85 years. In
18   ceding the land on which the Base is located to the U.S. Government, California did
19   not reserve authority to apply its state laws to the land. The Army established the
20   Camp Cooke garrison on the property in 1941 and transferred the site to the Air
21   Force in 1957. Soon after, the Air Force established the Base as a missile and space
22   launch facility and launched the first missile from there in 1958.
23         66.    In 1996, the Base became the site of the world’s first spaceport
24   supporting space launches by commercial operators. Today, the Base is the world’s
25   second busiest launch facility. The Base is also the West Coast’s only federal launch
26   facility, providing critical capacity for the nation’s space program.
27         67.    Space launches have occurred at the Base for many years with no
28   significant effects on coastal resources either on or around the Base. For example,

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 1   wildlife monitoring has shown that launches have had no significant effects to
 2   coastal wildlife, including sea birds and pinnipeds. In its 2023 Supplemental
 3   Environmental Assessment (Supplemental EA) for Falcon 9 launch activities at the
 4   Base, the Air Force explained that “[Western Snowy Plover] monitoring . . . over the
 5   past two decades . . . has routinely demonstrated that [] behavior is not adversely
                                                                        2
 6   affected by launch noise or vibrations.” Supplemental EA at 4-25. The Air Force
 7   has also “determined there are generally no substantial behavioral disruptions or
 8   anything more than temporary [e]ffects” from past launches on pinnipeds and other
 9   species. Id. at 4-38.
10         68.    Since 1979, public access to beaches in the vicinity of the Base have
11   been subject to an access restriction agreement between the Air Force, the State of
12   California, and Santa Barbara County. The agreement provides that the Air Force
13   will notify the County prior to a launch that an evacuation is necessary and
14   empowers Santa Barbara County to evacuate members of the public and enforce
15   temporary access restrictions. The State and County have extended this agreement
16   on multiple occasions.
17         69.    For decades, the Air Force has treated commercial space operations by
18   SpaceX and other commercial operators at the Base as “federal agency activity”
19   under the CZMA and determined that launches are consistent to the maximum extent
20   practicable with the California coastal management program. For example, in 1998,
21   the Air Force made a consistency determination for the Evolved Expendable Launch
22   Vehicle commercial launch program at the Base (CD-049-98). In 2003 and 2005,
23   the Air Force made negative determinations regarding SpaceX’s Falcon program
24   (ND-103-03 and ND-088-05). In 2020, the Air Force made a negative determination
25   for the United Launch Alliance’s Vulcan Centaur launch program (ND-0027-20). In
26

27   2
    Available at https://www.vandenberg.spaceforce.mil/Portals/18/documents/Envir
28 onmental/EIAP-2023-05-1_SEA_SpaceX_Falcon9CadenceIncrease.pdf.

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 1   2021, the Air Force made a negative determination for ABL Space Systems’ RS1
 2   launch program (ND-0020-21) and a consistency determination for Blue Origin’s
 3   Orbital Launch Site (CD-0010-21). And in 2023, the Air Force made a consistency
 4 determination for a Phantom Space Corporation launch facility with a launch

 5 cadence of 60 flights (CD-0010-22).

 6         70.    Until its new demand that SpaceX obtain one, the Commission had
 7   never required any commercial space launch operator, including SpaceX, to obtain
 8   a CDP.
 9         71.    The Department of Defense has repeatedly made clear to the
10   Commission that activities on military installations in California, including the Base,
11   are federal agency activities, not federally permitted activity subject to state permit
12   requirements. For example, on October 25, 2022, “on behalf of the military Services
13   in California, and consistent with previous communications on this uniquely federal
14   issue,” the Navy rejected the Commission’s “request[] that the Coastal Development
15   Permit (CDP) process be utilized where a private entity is involved in the military’s
16   federal activity.” The Navy explained:
17                Any federal activity, lease or project undertaken on a
                  military installation, is by definition not in the coastal
18                zone. All activities taking place on federally owned
                  [Department of Defense] land, including those that utilize
19                private entities, are done so in a manner exercising our
                  statutory authorities. Federal activities include a range of
20                activities where a Federal agency makes a proposal for
                  action initiating an activity or series of activities.
21

22   Ex. A. In a November 2, 2022 letter (Ex. B), the Air Force similarly found that
23   another commercial space operator’s proposed launch program at the Base “is a
24   federal activity being conducted outside the coastal zone.” The Air Force rejected
25   the Commission’s request that it withdraw a previously submitted consistency
26   determination for this activity and apply for a CDP. The Air Force emphasized it
27   “had fulfilled its statutory commercial space launch responsibilities on [the Base]
28   for decades, during which the Coastal Commission has never asserted that any

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 1   commercial space project was a private commercial development requiring a CDP.”
 2   Unlike with respect to that operator, however, the Commission has continued to
 3   demand that SpaceX obtain a CDP.
 4         72.       The Commission, in turn, has reviewed the Air Force’s negative
 5   determinations and consistency determinations for commercial space operations at
 6   the Base as federal agency activity and concurred. See, e.g., ND-103-03 Concurrence
 7   (addressing the Base’s Falcon launch program) (Ex. C); ND-088-05 Concurrence
 8   (addressing modifications to the Falcon program) (Ex. D); ND-0027-20
                                                                             3
 9   Concurrence (addressing the Base’s Vulcan Centaur Program); ND-0020-21
10 Concurrence (addressing the Base’s ABL Space Systems Company’s RS1 vehicle
                 4
11 launches).

12         73.       Consistent with the Air Force’s longstanding positions that launches
13   from the Base are federal agency activities subject to state consistency review under
14   Section 307(c)(1) of the CZMA, launches are not listed as federally permitted
15   activities in the California coastal management program.
16         74.       No space launch operator has ever applied for or been issued a CDP.
17   D.    The Base’s Falcon 9 launch program
18         75.       SpaceX currently leases from the Air Force land at the Base that is used
19   to support the Falcon 9 launch program. Under the lease, the Air Force retains
20   ultimate authority over the use of the land and launch facilities. For example, the Air
21   Force “reserves the right to use or share” the leased facilities “as necessary to support
22   its own programs” and “to grant shared use . . . to other services within the
23   Department of Defense, federal agencies, state agencies, and commercial space
24
     3
25    Available at https://documents.coastal.ca.gov/reports/2020/11/F14/F14-11-2020.p
     df at 2-4.
26
     4
27    Available at https://documents.coastal.ca.gov/reports/2021/10/F10/F10-10-2021.p
     df at 11-12.
28

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 1   launch operators in the furtherance of the purposes of” the Commercial Space
 2   Launch Act. The federal government also retains authority to enter the leased
 3   facilities “without escort, at all times for any purposes not inconsistent with
 4   Licensee’s quiet use and enjoyment of them.”
 5         76.    Consistent with its longstanding treatment of commercial space
 6 operations at the Base as federal agency activity, the Air Force made negative

 7 determinations regarding the Base’s Falcon 9 launch program in 2010 (ND-055-10),

 8 2014 (ND-0035-14), 2015 (ND-0027-15), and, as further explained below, 2023

 9   (ND-0009-23). The Commission concurred with each determination. See ND-055-
10 10 Concurrence, Ex. E at 2; ND-0035-14 Concurrence, Ex. F at 3; ND-0027-15

11   Concurrence, Ex. G at 3; ND-0009-23 Concurrence, Ex. H at 5. It did not require
12 SpaceX to obtain a CDP.

13         77.    These    determinations    were    supported        by   robust   National
14 Environmental Policy Act review by the Air Force, interagency consultation under

15 Section 7 of the Endangered Species Act with the U.S. Fish and Wildlife Service

16 and National Marine Fisheries Service, and Commercial Space Launch Act review

17 by the Federal Aviation Administration. The Air Force prepared environmental

18 assessments (EAs) in 2011, 2016, and 2018, concluding that Falcon 9 program
                                                                  5
19 activities would not significantly impact coastal resources.

20         78.    The Air Force also monitors and mitigates environmental effects of the
21   Base’s launch programs. In collaboration with Space Launch Delta 30 of the Space
22   Force, SpaceX monitors protected species, including the western snowy plover,
23   California least tern, California red-legged frog, southern sea otter, and pinnipeds.
24

25   5
     2011 EA, available at https://apps.dtic.mil/sti/pdfs/ADA612280.pdf; 2016 EA,
26 available at https://www.vandenberg.spaceforce.mil/Portals/18/documents/Environ

27
   mental/EIAP-2016-04-1_EA_Falcon9_Boost-back.pdf; 2018 Supplemental EA,
   available at https://www.vandenberg.spaceforce.mil/Portals/18/documents/Environ
28 mental/EIAP-2018-01-31_SEA_Falcon9_Launch-Boost-back.pdf.

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 1   SpaceX also assists in sonic boom monitoring at multiple sites even though sonic
 2   booms from Falcon 9 launches do not occur at levels that are harmful to humans or
 3   wildlife. The Space Force has also collaborated with Santa Barbara County on a
 4   highly successful strategy to minimize beach access restrictions that the Space Force
 5   sometimes implements to reduce risk to the public.
 6   E.      The Commission’s review of Falcon 9 launch cadence increases
 7           79.   In 2023, the Air Force evaluated increasing the launch cadence of
 8   Falcon 9 rockets at the Base to up to 36 launches annually. As with prior Falcon 9
 9   program activities, the proposed cadence increase underwent environmental and
10   safety review by multiple federal agencies. The Air Force prepared a Supplemental
11   EA in accordance with the National Environmental Policy Act and concluded the
12   cadence increase would not significantly affect coastal resources. Supplemental EA
13   at 4-50. The Air Force and SpaceX also committed to measures to mitigate coastal
14   effects, including minimizing the need for temporary access restrictions,
15   compensation for any unrecovered marine debris, and ongoing biological
16   monitoring. Id. at 4-49 to 4-50.
17           80.   After thorough review, the Air Force also made a negative
18   determination (ND-0009-23) under the CZMA. The Commission concurred on May
19   5, 2023, stating: “With these commitments [to minimize coastal impacts],
20   Commission staff agrees that the proposed increase to 36 Falcon 9 launches per year
21   at [the Base] and designation of a new offshore landing area will not adversely affect
22   coastal zone resources. The proposed launch activities are similar to those concurred
23   with by the Commission in CD-049-98 and by the Executive Director in ND-0027-
24   15. We therefore concur with your negative determination made pursuant to 15 CFR
25   930.35 of the NOAA implementing regulations.” ND-0009-23 Concurrence, Ex. H
26   at 5.
27           81.   Just a few months later, however, the Commission reversed course,
28   voting on December 15, 2023, to renege on its concurrence with the Air Force’s

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 1   2023 negative determination. The Commission also asked the Air Force to provide
 2   more information about the 36-launch cadence increase and potential coastal effects.
 3          82.    The Commission sent the Space Force a “remedial action letter” on
 4   February 16, 2024, asking the Space Force to submit a consistency determination
 5   for the 36-launch cadence increase and “limit SpaceX launch azimuths and
 6   scheduling in order to avoid further adverse impacts to public coastal access and
 7   recreation . . . .” Ex. I at 3.
 8          83.    Notwithstanding that the Commission had already previously
 9   concurred in the negative determination, the Air Force provided the Commission the
10   requested information and agreed to submit a consistency determination (CD-0003-
11   24) for the 36-launch cadence increase. On March 7, 2024, the Air Force provided
12   another consistency determination, which included additional mitigation measures
13   addressing the Commission’s concerns and again found the 36-launch cadence
14   increase to be consistent with the California coastal management program. Ex. J.
15          84.    On March 28, 2024, Commission staff released a detailed staff report
16   recommending that the Commission concur with the Air Force’s March 2024
                                       6
17   consistency determination. The report discussed the Air Force’s commitment to
18 implement measures to further address the Commission’s concerns with biological

19 resources, marine debris, and fisheries impacts. Although the report recommended

20 concurrence, it disputed the Air Force’s longstanding policy and the Commission’s

21 longstanding practice of recognizing and reviewing commercial launch operations

22 at the Base as federal agency activity. Instead, the report said, “SpaceX’s space

23 launch activities are not a government program and are carried out solely by a private

24 entity” and that the program “would be operated by a private company to serve its

25 business objectives and would only occasionally launch materials at the behest of”

26

27   6
     Available at https://documents.coastal.ca.gov/reports/2024/4/w13a/w13a-4-2024-
28 report.pdf.

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 1   the Air Force. March 2024 Report at 7. Although Commission staff “agreed to bring
 2   forward the proposed project for the Commission’s consideration as a consistency
 3   determination,” they warned that “future projects will continue to be considered on
 4   a case-by-case basis and different review approaches will be used when
 5   appropriate.” Id.
 6         85.    At its meeting on April 10, 2024, the Commission rejected its staff’s
 7   recommendation and voted not to concur at that time. The Commission again
 8   questioned the Air Force’s longstanding policy of treating private launches at the
 9   Base as federal agency activity. Kristina Kunkel, acting as a non-voting member of
10   the Commission on behalf of the State Lands Commission, said: “I just don’t think
11   that SpaceX should be able to skirt the requirements for a CDP when there’s clear
12   intent to conduct primarily for-profit business activity and not federal activity.”
13   Commission Chair Hart stated that “everyone has agreed” the Commission should
14 distinguish SpaceX’s supposedly “private” launches from Department of Defense

15   payloads, and pushed for “consideration of whether a CDP should be required,”
16   which a majority of the Commissioners supported. Defendant Teufel, the Deputy
17   Director of the Commission’s Energy, Ocean, Resources, and Federal Consistency
18   Division, stated that “it’s worth us trying to figure out whether [requiring a CDP] is
19   appropriate,” but noted that “we’ve already approved” launch cadence increases for
20 private companies without requiring a CDP “in the past,” thereby “set[ting] a

21 precedent for how we’re approving these kinds of permits.” The Commission

22   decided to again revisit review of the Air Force’s consistency determination for the
23   36-launch cadence increase at a subsequent hearing.
24         86.    On May 10, 2024, to address the additional concerns raised at the April
25   10 meeting, the Air Force provided a briefing on operations at the Base. The Air
26 Force then submitted additional information about the Falcon 9 launch operations at

27 the Base.

28         87.    At its meeting on May 10, 2024, Commission members raised

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 1   numerous concerns unrelated to potential effects on coastal resources. For example,
 2   Commissioner Wilson questioned “the national security public benefit of
 3   concentrating that much power, literally power, communication power into one
 4   company that we are enabling in this case, in a company that has already shown that
 5   it will play in international conflicts directly at the will of a single human being.”
 6   Commissioner Wilson even acknowledged that this concern “is probably broader
 7   than maybe this organization can deal with.” Commissioner Cummings further
 8 commented: “When the Ukraine was preparing to launch an attack on Russia, Elon

 9 Musk decided to suspend Starlink, which prevented them from being able to carry

10 out their attack. And with Ukraine being one of our allies one would suspect that

11 that would kind of violate our strategies around national defense.”
                                                7
12         88.    In a May 30, 2024 report, Commission staff reversed their prior
13   recommendation that the Commission concur with the Air Force’s consistency
14   determination, and instead recommended that the Commission object. The report
15   disputed the Air Force’s position that the Falcon 9 program at the Base is federal
16   agency activity, stating that “Space Force must demonstrate that SpaceX is
17   performing all its launch activities on behalf of the Space Force and that Space Force
18   is responsible and accepts liability for all of SpaceX’s launch activities” to show that
19   the Falcon 9 program is federal agency activity. May 2024 Report at 7.
20         89.    On June 7, 2024, the Air Force sent a letter responding to the
21   Commission’s report. Ex. K. The Air Force explained that the Falcon 9 program
22 would be carried out “consistent to the maximum extent practicable with the

23 enforceable policies” of the California coastal management program and that

24 “federal activities, including commercial space activities on [the Base], are not

25 subject to the California Coastal Zone Management Program’s (CZMP) Coastal

26

27   7
     Available at https://documents.coastal.ca.gov/reports/2024/6/w10a/w10a-6-2024-
28 report.pdf.

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 1   Development Permit (CDP).” The Air Force reiterated that “[l]aunches on [the Base]
 2   constitute ‘federal agency actions’ and fall within the federal [consistency
 3   determination] process,” and that “[t]his position has been articulated to the
 4   [Commission] throughout this [consistency review] process” and in prior
 5   correspondences.
 6         90.   The Commission postponed a vote on the consistency determination at
 7   its June 2024 meeting. The Air Force then continued to meet and work with the
 8   Commission to address the Commission’s concerns.
 9         91.   On July 25, 2024, Commission staff issued a third report on the Air
10   Force’s consistency determination for the 36-launch cadence increase, this time
11   recommending conditional concurrence.8 Specifically, the report recommended
12 imposing the following conditions of concurrence, which include measures related

13 to effects outside of the coastal zone: (1) an enhanced on-Base biological monitoring

14 program, (2) off-Base sonic boom minimization measures, (3) off-Base acoustic and

15 biological monitoring, (4) a lighting management plan, (5) enhanced coastal access

16 and recreation, (6) marine debris payments, and (7) a commercial and recreational

17 fishing coordination plan. This new report again took the position that Falcon 9

18 launches are not federal agency activity and require a CDP. July 2024 Report at 12.

19         92.   The Air Force worked with the Commission and agreed to conditions
20 4-7 but not the other conditions, as explained in an August 6, 2024 letter to the

21 Commission. Ex. L.

22         93.   At its meeting on August 8, 2024, the Commission adopted the report
23 in full and conditionally concurred in the Air Force’s consistency determination.

24 During the hearing, the Commission raised numerous concerns unrelated to potential

25 effects on coastal resources. For example, Commissioner Wilson said:

26

27   8
     Available at https://documents.coastal.ca.gov/reports/2024/8/Th9c/Th9c-8-2024-
28 report.pdf.

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 1                And we see, you know, actors in that space both engaging
                  in foreign military activities, engaging in misinformation,
 2                dabbling in misinformation within the social media
                  spheres in which they’re in and those sorts of things, which
 3                makes me question our ability to manage the benevolency
                  of this private industry under this umbrella of the public
 4                good, which our military is supposed to be part of our
                  public good and national security as well.
 5

 6   Commissioner Cummings also asked questions about national security concerns
 7   based on false, debunked conspiracy theories unrelated to potential effects on coastal
 8   resources:
 9
                  [W]hat we saw about a year ago was that Starlink was shut
10                down when one of our allies was trying to utilize that
                  technology to attack one of our adversaries. When the
11                Ukraine was trying to conduct a drone attack on Russia,
                  Starlink shut down that technology and prevented them
12                from utilizing that technology for an attack that they were
                  trying to do to defend their nation against a foreign
13                invader, who we’ve identified as being one of our enemies.
                  So the notion that what we’re doing and the approval of
14                these rocket launches is for national defense, you know,
                  it’s concerning to me when some of our allies are not being
15                allowed to utilize the technology that’s being deployed in
                  these launches when they need it most.
16

17         94.    After the hearing, the Air Force continued to work with the
18 Commission to resolve its concerns. On September 13, 2024, the Air Force

19 responded to the Commission with proposed measures responsive to the

20 Commission’s first three conditions of its conditional concurrence. Ex. M. On

21 September 16, 2024, the Commission responded that these measures were

22 inadequate. Ex. N. The Air Force ultimately capitulated to the Commission’s

23 conditions, including additional monitoring that the Air Force and federal wildlife

24 agencies found not to be needed and that would cost commercial space operators,

25 including SpaceX, and the Air Force millions of dollars a year to implement.

26 F.      The Commission’s continued demands that SpaceX obtain a CDP
27         95.    Since reopening its consistency determination on the 36-launch
28 increase in December 2023, the Commission has repeatedly asserted that the Base’s

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 1   Falcon 9 launch program is not federal agency activity and demanded that SpaceX
 2   obtain a CDP to conduct Falcon 9 launches for commercial customers.
 3         96.    On a September 13, 2024 call with SpaceX and in several emails,
 4 Defendant Cassidy Teufel demanded on behalf of the Commission that SpaceX

 5 obtain a CDP to conduct future commercial launches. He threatened enforcement

 6 against the Falcon 9 launch program and further stated that the Commission will not

 7 agree to cadence increases if SpaceX does not obtain a CDP. SpaceX responded by

 8 reiterating its position, shared by the Air Force, that the Base’s commercial space

 9 launch programs are not subject to the Coastal Act’s CDP requirement.

10         97.    On September 27, 2024, the Commission again stated its CDP demand
11 in a staff report evaluating a consistency determination that the Air Force prepared
                                                                              9
12 for a proposed cadence increase to 50 launches annually (CD-0007-24). The report

13   states the Commission’s position that Falcon 9 launches are federally permitted
14   activities requiring a CDP and says that the Commission’s “expectation [is] that
15   SpaceX will be required to seek the Commission’s authorization through submittal
16   of a consistency certification and/or coastal development permit application.” Sept.
17   2024 Report at 8. The report claims that “the primary purpose of the proposed
18   SpaceX launch activities is to further expand and support SpaceX’s commercial
19   satellite internet and telecommunications network” and that SpaceX only
20   “periodically launches satellites and payloads under contract for a variety of federal
21   government agencies.” Id. at 2.
22         98.    The Commission also sent SpaceX a letter on September 27, 2024,
23   stating that SpaceX must obtain a CDP, including an “after-the-fact” CDP for past
24   launches, indicating that the Commission believes past launches violated the Coastal
25

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27
     The Staff Report is available at https://documents.coastal.ca.gov/reports/2024/10/
   th9a/th9a-10-2024-report.pdf. The July 2024 CD for the cadence increase is attached
28 as Exhibit P.

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 1   Act’s CDP requirement. Ex. O.
 2         99.    At its October 10, 2024 meeting,10 the Commission rejected its staff’s
 3   recommendation to concur with the Air Force’s consistency determination
 4   addressing the cadence increase to 50 launches. The Commissioners and
 5   Commission staff continued to claim that Falcon 9 launches are federally permitted
 6   activity requiring a CDP. The Commission made clear that SpaceX must apply for a
 7   CDP regardless of whether it concurred in the Air Force’s consistency
 8   determination. For example, Commission Chair Hart stated that “[i]t is essential that
 9   SpaceX submit a CDP” and [t]here is no other way forward in my opinion.” She
10   disagreed with the Air Force that commercial space launches are federal agency
11   activity outside the Commission’s permitting jurisdiction, noting that “we’re going
12   to hit a wall here.” Commissioners Hart, Escalante, Bochco, Lowenberg, Wilson,
13   Cummings, and Newsom also stated that SpaceX must obtain a CDP.
14         100. The Commission also made clear that its disparate treatment of SpaceX
15   was rooted in animosity toward SpaceX and the political beliefs of its largest
16   shareholder and CEO, Elon Musk, not concern for the coastal zone. After talking at
17   length about concerns with changes in Department of Defense leadership following
18   the November 2024 election, Commission Chair Hart said explicitly: “The concern
19   is with SpaceX increasing its launches, not with the other companies increasing their
20   launches.” She explained, “we’re dealing with a company . . . the head of which has
21   aggressively injected himself into the Presidential race and made it clear what his
22   point of view is.” Other Commissioners made clear they also decided based on their
23   political disagreements with Mr. Musk. Commissioner Newsom, for instance, said
24   that “Elon Musk is hopping about the country, spewing and tweeting political
25   falsehoods and attacking FEMA while claiming his desire to help the hurricane
26

27   10
      A recording of the Commission’s October 10, 2024 meeting is available at
28 https://cal-span.org/meeting/ccc_20241010/.

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 1   victims with free Starlink access to the internet.” Commissioners Aguirre and
 2   Cummings voiced similar concerns regarding the political uses of Starlink. As these
 3   statements show, the impact of the proposed launch cadence increase on the coastal
 4   region was the last topic on the Commissioners’ minds at the October 2024 meeting.
 5         101. The Commissioners also raised other concerns wholly unrelated to
 6   coastal effects. Commissioner Newsom, for example, spoke at length about
 7   SpaceX’s employment practices, citing reports alleging unlawful retaliation and
 8   unsafe working conditions. These same vague “concerns” regarding SpaceX’s
 9   employment practices were later echoed by Commissioners Cummings and Aguirre.
10   Cummings even admitted SpaceX’s labor practices fall outside the Commission’s
11   purview, stating that “[t]here’s certain things that we would love to see that are
12   outside of our purview” before continuing to discuss unnamed reports regarding
13   SpaceX’s supposed labor practices. To be clear, SpaceX vehemently denies that it
14   engages in any unlawful labor or employment practices or that its workplaces are
15   unsafe, but even if these “concerns” were substantiated, they have nothing to do with
16   the impacts of the Falcon 9 launch program at the Base.
17         102. The Commissioners also repeatedly cited long-debunked conspiracy
18   theories regarding the use of SpaceX technologies by foreign governments and
19   concerns about Mr. Musk’s motivations for seeking federal contracts. Commissioner
20   Wilson wanted to “acknowledge” that Starlink gives Mr. Musk control over “one of
21   the most extensive communications networks on the planet,” and further stated that
22   “just last week” Mr. Musk was “speaking about political retribution on a national
23   stage.” Commissioner Cummings later raised similar concerns about Mr. Musk’s
24   perceived unilateral control over the Starlink system. Cummings stated, “I do share
25   some concerns . . . Commissioner Wilson brought up . . . . [L]ast year we did see the
26   owner of Starlink shut down Starlink when one of our allies was going to attack one
27   of our adversaries. And so while . . . we are all trying to operate in this apolitical
28   space, we do know that the person who controls these companies has enough power

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                                                                               11
 1   to not work in the best interest, when they feel like it, of our allies.” Comments
 2 from other Commissioners similarly show that they acted based on flawed and

 3 inexpert national security concerns rather than concerns within the scope of their

 4 state mandate regarding preservation of the coastal zone.

 5         103. No one stated or argued that animus toward Mr. Musk and/or SpaceX
 6 had no place in the Commission’s deliberation, should not affect the Commission’s

 7 decision in any way, and/or should be disregarded completely.

 8         104. Following these many attacks against Mr. Musk and SpaceX for
 9   political views, alleged business practices, and other matters unrelated to the
10

11   11
        While immaterial to SpaceX’s claims, many of the Commissioners’ biased and
12   retaliatory statements are simply wrong. Contrary to Commissioner Cummings’s
     accusations, the Department of Defense has repeatedly and publicly stated that
13
     SpaceX “has been a great partner on [military aid to Ukraine], and they have done
14   everything we have asked—everything.” John Plumb & Ryan Evans, Spacepower
     and the Private Sector, WAR ON THE ROCKS, at 15:19 (Apr. 19, 2024), https://waron
15
     therocks.com/2024/04/spacepower-and-the-private-sector/. The Department of
16   Defense has explained that SpaceX has not only been “very cooperative with the
     entire United States government and the government of Ukraine, they have been
17
     forward leaning in identifying and bringing information to us.” Department of
18   Defense Space Activities in Review of the Defense Authorization Request for Fiscal
     Year 2025 and the Future Years Defense Program: Hearings before the U.S. Senate
19
     Comm. on Armed Servs. (May 21, 2024) (Testimony of John D. Hill, Deputy
20   Assistant Sec’y of Defense) at 41, available at https://www.armed-services.senate.
     gov/imo/media/doc/5-21-24_sub_strat_forces.pdf. The Vice Prime Minister of
21
     Ukraine said, “Starlink is indeed the blood of our entire communications
22   infrastructure now,” noting that the network has saved “thousands of lives,” and that
     “[d]efinitely Elon Musk is among the world’s top private donors supporting Ukraine.
23
     Starlink is an essential element of our critical infrastructure.” https://twitter.com/Fe
24   dorovMykhailo/status/158934203385860097. Secretary of State Anthony Blinken
     explained that “Starlink has been a vital tool for Ukrainians to be able to
25
     communicate with each other and particularly for the military to communicate in
26   their efforts to defend all of Ukraine’s territory.” Tony Czuczka, Blinken Says
27
     Musk’s Starlink Should Keep Giving Ukraine Full Use, BLOOMBERG NEWS, Sept.
     10, 2024, available at https://www.bloomberg.com/news/articles/2023-09-10/
28   blinken-says-musk-s-starlink-should-keep-giving-ukraine-full-use.

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 1   Commission’s authority, the Commission voted 6-4 against SpaceX increasing its
 2   yearly total of Falcon 9 launches from the Base. The majority votes were cast by
 3   Commissioners Hart, Newsom, Uranga, Bochco, Aguirre, and Escalante.
 4         105. Commissioner Newsom celebrated the Commission’s decision on
 5   social media later that day, expressly acknowledging that the Commission acted
 6   politically and “cite[d] Elon Musk’s politics in rejecting SpaceX launches.”
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23         106. In view of the Commissioners’ egregious conduct, after SpaceX filed
24   this action, California Governor Gavin Newsom stated that the Commission’s
25   consideration of Mr. Musk’s politics was unconstitutional, siding with SpaceX in
26

27

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                                                              12
 1   the lawsuit and publicly commenting: “I’m with Elon.”
 2         107. On November 1, 2024, the Air Force sent the Commission a letter
 3   stating that it would proceed with up to 50 launches per year, including up to 14
 4   additional launches during the last two months of 2024. The Air Force reiterated that
 5   the launches “are critical to our country’s national security” and comply with the
 6   CZMA. The Air Force further stated that it and other federal agencies would
 7   continue to meet regularly with Commission staff “to support conservation
 8   objections and national security requirements.”
 9         108. Despite these developments, the Commission has not dropped its
10   demand that SpaceX obtain a CDP to conduct launches from the Base or its position
11   that SpaceX launches are federally permitted activity.
12                                     VI.    CLAIMS
13                 COUNT I: For Declaratory and Injunctive Relief
14                          (Coastal Zone Management Act)
              (Against All Defendants, Including the Individual Defendants
15                             in their Official Capacities)
16         109. Plaintiff incorporates by reference all preceding allegations.
17         110. The Commission lacks authority for its actions under the CZMA. First,
18   the Falcon 9 launch program is federal agency activity, not federally permitted
19   activity requiring a consistency certification. Second, contrary to the Commission’s
20   claims, the Base is not within the “coastal zone” as defined by the CZMA.
21         111. The CZMA and its implementing regulations distinguish between
22   federal agency activities and federally permitted activities. Distinct requirements and
23   differing degrees of state authority apply to each type of activity under the CZMA.
24   “Federal agency activity” is any function carried out by or on behalf of a federal
25

26
     12
27
     Christopher Cadelago & Debra Kahn, Newsom on SpaceX Rejection: ‘I’m with
   Elon’, POLITICO, Oct. 18, 2024, https://www.politico.com/news/2024/10/18/elon-ne
28 wsom-musk-california-spacex-00184408.

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 1   agency to exercise its statutory responsibilities.
 2         112. It is the Air Force’s longstanding position that commercial space
 3   launches at the Base, including the Falcon 9 launch program, are federal agency
 4   activities under the CZMA. SpaceX agrees that commercial space launches and
 5   infrastructure at the Base, including Falcon 9 launch operations, are federal agency
 6   activities. For decades, the Commission also agreed and repeatedly concurred in
 7   determinations by the Air Force that commercial space launch programs at the Base
 8   are federal agency activities that are consistent with the enforceable policies of
 9   California’s coastal management program.
10         113. But the Commission is now attempting to regulate the Base’s
11   commercial space launches as federally permitted activity and has directed SpaceX
12   to submit a consistency certification. Contrary to the Commission’s position, the
13   Base’s Falcon 9 launch program is federal agency activity. Falcon 9 is the most
14   reliable, reusable, economical rocket ever created, and it is the workhorse of the
15   national space program. A robust Falcon 9 launch program at the Base is integral to
16   ensuring “the availability of rapid, responsive, and reliable space launches for
17   national security space programs,” as required by Congress. 10 U.S.C. § 2273.
18         114. As a bipartisan group of fourteen California Members of Congress
19   explained in a comment letter supporting the cadence increase for the Base’s Falcon
20   9 launch program, “[s]pace launches from [the Base] provide a critical national
21   security capability for the U.S. Department of Defense [] and intelligence
22   community.” Quoting the 2024 Department of Defense’s Commercial Space
23   Integration Strategy, they explained that “integrating commercial launch services
24   into the national security space architecture is ‘critical to enhancing U.S. resilience
25   and strengthening deterrence in the 21st century.’ Federal law and national policy
26   also provide clear direction on this subject, including in the Commercial Space
27   Launch Act and the National Space Policy.”
28         115. The Air Force similarly explained in its July 2024 consistency

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 1   determination for the 50-launch cadence increase that a robust commercial space
 2   launch program at the Base serves the Air Force and fulfills its statutory
 3   responsibilities:
 4                The Proposed Action [i.e., increased launch capacity at the
                  Base] is needed to meet current and anticipated near-term
 5                future U.S. Government launch requirements for national
                  security, space exploration, science, and the Assured
 6                Access to Space process of the NSSL program. It is the
                  policy of the U.S. to ensure that the U.S. has the
 7                capabilities necessary to launch and insert national
                  security payloads into space whenever needed, as
 8                described in 10 U.S.C. § 2773. The Proposed Action is
                  also needed so that SpaceX can continue to implement
 9                U.S. Government missions while simultaneously meeting
                  its increasing commercial launch demands.
10

11   Ex. P at 2 (CD-0007-24).
12         116. The Commission also claims that the Base’s land on which the Falcon
13   9 launch program operates is part of the coastal zone. See Sept. 2024 Report at 12-
14   13; July 2024 Report at 14-15. This is wrong because the Base is federal land, which
15   the CZMA expressly excludes from constituting part of the coastal zone subject to
16   the CZMA. 16 U.S.C. § 1453(1); 15 C.F.R. § 923.33(a).
17         117. The Commission’s demand that SpaceX submit a consistency
18   certification for the Base’s Falcon 9 launch program is also unlawful under the
19   CZMA because the federally approved coastal management program does not list
20   space launches as federally permitted activities that could affect the coastal zone.
21   Nor has NOAA authorized the Commission to review commercial space launches as
22   “unlisted federal license or permit activities.” See 15 C.F.R. § 930.54. Nor could
23   NOAA, because, as explained above, the Base’s launch program is federal agency
24   activity under the CZMA.
25         118. The Commission’s attempt to regulate the Base’s commercial space
26   launches as federally permitted activity occurring within the coastal zone, and its
27   demand that SpaceX submit a consistency certification, harm SpaceX. The
28   Commission’s demand for a consistency certification, when implemented, would

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 1   trigger a review period by the Commission of six months or more, as opposed to a
 2   90-day period for consistency determinations. The demand would also require
 3   SpaceX to incur substantial expense to prepare consistency certifications that are
 4   redundant of the Air Force’s consistency determinations. The demand would further
 5   require the Falcon 9 launch program to be fully consistent with the California coastal
 6   management program’s enforceable policies instead of consistent to the maximum
 7   extent practicable, which is the less demanding consistency standard applicable to
 8   federal agency activities. And if the Commission objected, the launch program could
 9   proceed only after a successful, formal administrative appeal to NOAA. By contrast,
10   if reviewed as federal agency activity, the launch program can proceed over the
11   Commission’s objection given the Air Force’s repeated findings that the activity is
12   consistent to the maximum extent practicable with the California coastal
13   management program’s enforceable policies.
14         119. The Commission’s erroneous position that parts of the Base where
15   SpaceX operates are within the coastal zone also harms SpaceX. Contrary to the
16   Commission’s position, the Base is federal land that is not part of the coastal zone,
17   and thus impacts on the Base are not subject to consistency review under the CZMA.
18         120. Accordingly, the Commission’s demand that SpaceX submit a
19   consistency certification for the Base’s Falcon 9 launch program should be declared
20   unlawful under the CZMA in the circumstances presented, declared unenforceable
21   against SpaceX, and enjoined. If not declared unlawful and enjoined, the
22   Commission’s demands will irreparably harm not only SpaceX but also the
23   important federal interests served by the Base’s Falcon 9 launch program.
24                 COUNT II: For Declaratory and Injunctive Relief
25                                     (Preemption)
              (Against All Defendants, Including the Individual Defendants
26                             in their Official Capacities)
27         121. Plaintiff incorporates by reference all preceding allegations.
28         122. Space operations at the Base are federal agency activity overseen by

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 1   multiple agencies within the Department of Defense. The Commission agreed with
 2   this position for decades. But now, as explained above, the Commission has done an
 3 about-face: starting this year, it has repeatedly sought to regulate the Base’s Falcon

 4 9 launch program under the Coastal Act and demanded that SpaceX obtain a CDP

 5 under that state law. Both the Air Force and SpaceX have steadfastly disagreed. As

 6 the Air Force has repeatedly found, the Base’s Falcon 9 launch program is federal

 7 agency activity that is fully consistent with the California coastal management

 8 program and not subject to the Coastal Act’s CDP requirement.

 9         123. SpaceX seeks a declaration pursuant to 28 U.S.C. §§ 2201 and 2202
10 that the Commission’s demand that SpaceX obtain a CDP to conduct Falcon 9

11 launches at the Base is preempted.

12         124. The Commission’s application of its claimed state law permitting
13   authority to SpaceX and the Falcon 9 launch program at the Base is preempted
14   because it conflicts with the CZMA and other federal laws in numerous ways.
15         125. First, the Commission’s attempt to regulate effects on the Base’s coastal
16   resources is preempted. The CZMA excludes federal land from the coastal zone
17   subject to the Commission’s review for consistency with the coastal management
18   program’s enforceable policies. The Base is federal land that is excluded from the
19   coastal zone. Contrary to the CZMA, the Commission seeks to apply the coastal
20   management program’s policies and CDP requirement to Falcon 9 launch operations
21   and related effects on the Base.
22         126. Second, the Commission’s attempt to regulate and demand a permit for
23   federal agency activity is preempted. The CZMA establishes separate and distinct
24   frameworks for state consistency review of federal agency activities and federally
25   permitted activities. A federal agency can override a state agency’s finding that a
26   federal agency activity is inconsistent with the state’s coastal management program
27   and proceed with the federal agency activity simply by finding that the activity is
28   consistent to the maximum extent practicable. As explained above, the Base’s

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 1   Falcon 9 launch program is federal agency activity, and the Air Force has issued
 2   consistency determinations finding that the launch program is consistent with the
 3   state’s coastal management program. In conflict with the limited authority the
 4   CZMA provides states to review federal agency activity, the Commission seeks to
 5   require SpaceX to obtain a CDP, prepare a consistency certification, and obtain the
 6   Commission’s concurrence to conduct launch operations at the Base, irrespective of
 7   the Air Force’s finding of consistency. Federal law preempts the Commission’s
 8   purported authority to impose these requirements on SpaceX.
 9         127. Third, the Commission’s demands that SpaceX obtain a CDP for the
10   Falcon 9 program and implement additional mitigations to comply with the coastal
11   management program also conflict with the Air Force’s specific consistency findings
12   in this case and its authority to proceed over the Commission’s objection.
13         128. The preemptive effect of federal law applies with heightened force to
14   the Commission’s actions because they intrude upon national defense and security
15   and seek to regulate activity occurring on a federal enclave. Allowing the
16   Commission to demand a CDP and conduct lengthy review of commercial space
17   launches at a federal military base would hamstring both the national space program
18   and the U.S. commercial space launch operators on which the program relies.
19   Congress clearly never intended such an outcome in passing the Commercial Space
20   Launch Act or directing the Department of Defense, NASA, and other federal
21   agencies to rely on commercial space launch programs at federal launch sites.
22   Rather, Congress made clear that “providing launch services and reentry services by
23   the private sector is consistent with the national security and foreign policy interests
24   of the United States and would be facilitated by stable, minimal, and appropriate
25   regulatory guidelines that are fairly and expeditiously applied.” 51 U.S.C.
26   § 50901(a)(6).
27         129. Accordingly, the Commission’s demands that SpaceX obtain a CDP
28   should be declared preempted and unlawful under the circumstances presented,

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 1   declared unenforceable against SpaceX, and enjoined. If not declared unlawful and
 2   enjoined, the Commission’s demands will irreparably harm not only SpaceX but also
 3   the important federal interests served by the Base’s Falcon 9 launch program.
 4                 COUNT III: For Declaratory and Injunctive Relief
 5                    (Preemption—Federal Enclave Jurisdiction)
              (Against All Defendants, Including the Individual Defendants
 6                             in their Official Capacities)
 7          130. Plaintiff incorporates by reference all preceding allegations.
 8          131. The Commission’s demand that SpaceX obtain a CDP is also unlawful
 9   and preempted or displaced under the federal enclave doctrine, under which the Base
10   is governed exclusively by federal law.
11          132. The Federal Enclave Clause provides that Congress “shall have
12   power . . . to exercise exclusive Legislation in all Cases whatsoever over such”
13   federal enclave districts “and to exercise like authority over all Places purchased by
14   the Consent of the Legislature of the State in which the Same shall be, for the
15   Erection of Forts, Magazines, Arsenals, Dock-Yards, and other needful Buildings.”
16   U.S. Constitution, art. 1, § 8, cl. 17.
17          133. The Base is a federal enclave. The U.S. Army acquired the pertinent
18   land on the Base in 1941 by cession. In ceding the land, the State did not reserve
19   authority to apply any state laws to the land. See Taylor, 78 Cal. App. 4th at 480
20   (explaining that state law “in effect when the United States Government accepted
21   jurisdiction over [the Base] . . . [provided] blanket consent to federal jurisdiction
22   [and] rendered Vandenberg a federal enclave”). Nor did the federal government
23   provide for application of existing or subsequently enacted state laws to the Base’s
24   land at issue, nor has it since.
25          134. The U.S. military has used the base continuously for military purposes
26   since its acquisition in 1941. It has never abandoned the Base for exclusively civilian
27   or non-federal purposes.
28          135. The Coastal Act was enacted by the State of California after the state

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 1   ceded the land on which the Base was built and, therefore, the Coastal Act is not
 2   incorporated into the federal law governing the Base.
 3         136. The California state legislative approval of cession of the land lacked
 4   any reservation subjecting the land to state regulation of coastal conditions under the
 5   Coastal Act.
 6         137. No federal statute gives California the power to impose its state law
 7   permitting requirements on launch activity at the Base or any other activity affecting
 8   Falcon 9 launches from the Base.
 9         138. To the contrary, the CZMA and its operative regulations provide that
10   states must exclude from the coastal zone “lands the use of which is by law subject
11   solely to the discretion of . . . the Federal Government,” including “lands owned,
12   leased, held in trust or whose use is otherwise by law subject solely to the discretion
13   of the Federal Government, its officers or agents.” 16 U.S.C. § 1453(1); 15 C.F.R.
14   § 923.33(a). Even if a federal enclave such as the Base were theoretically subject to
15   federal consistency review by states under the CZMA, at the very most, the CZMA
16   requires the federal government to consult with pertinent state officials and find that
17   actions are consistent to the maximum extent practicable. Nothing in the CZMA
18   requires the federal government to surrender or limit its exclusive jurisdiction under
19   the Federal Enclave Clause over the Base to state permitting conditions.
20         139. The Commission’s asserted authority under the Coastal Act to demand
21   a CDP for commercial space launches from the Base therefore constitutes an
22   impermissible state regulation of activity on a federal enclave and is prohibited by
23   the Federal Enclave Clause of the U.S. Constitution.
24         140. Accordingly, the Commission’s demands that SpaceX obtain a CDP
25   should be declared unlawful under the Federal Enclave Clause, declared
26   unenforceable against SpaceX, and enjoined. If not declared unlawful and enjoined,
27   the Commission’s demands will irreparably harm not only SpaceX but also the
28   important federal interests served by the Base’s Falcon 9 launch program.

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 1                COUNT IV: For Declaratory and Injunctive Relief
 2               (California Coastal Act applied on a federal enclave)
             (Against All Defendants, Including the Individual Defendants
 3                            in their Official Capacities)
 4         141.   Plaintiff incorporates by reference all preceding allegations.
 5         142. Even if the Commission’s asserted authority under the Coastal Act to
 6 require SpaceX obtain a CDP were not preempted by federal law and prohibited by

 7 the Federal Enclave Clause, because the Base is a federal enclave, the Coastal Act

 8 could apply to launches on the Base only if it were deemed to constitute federal law.

 9 As such, the Coastal Act would be subject to this Court’s federal question

10 jurisdiction under 28 U.S.C. § 1331. And this Court therefore would have authority

11 to determine that the Commission and its officers are violating the Coastal Act.

12         143. The Commission has asserted that the Coastal Act authorizes it to
13 demand a CDP for commercial space launches occurring on the Base because the

14 Base is part of the coastal zone within the meaning of the Coastal Act. But the Base

15 is located outside the “coastal zone” as defined by the Coastal Act, and thus the

16 Falcon 9 launch program is not subject to the Commission’s regulatory authority

17 even under that law. Cal. Pub. Res. Code § 30008; 15 U.S.C. § 1453(1). The Coastal

18 Act therefore plainly prohibits the Commission from requiring SpaceX to obtain a

19 CDP for the Base’s Falcon 9 launch program because the Base is federal land that is

20 outside of the coastal zone and beyond the Commission’s coastal development

21 permitting jurisdiction. Cal. Pub. Res. Code § 30604(d); 14 Cal. Code Regs.

22 § 13050.5(b).

23         144. SpaceX seeks a declaration pursuant to 28 U.S.C. § 2201 that the
24 Commission’s demand that SpaceX obtain a CDP for its launch operations at the

25 Base exceeds the Commission’s authority and is unlawful under the Coastal Act.

26         145. Accordingly, the Commission’s demands that SpaceX obtain a CDP
27   should be declared unlawful and in excess of its authority under the Coastal Act,
28

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 1   declared unenforceable against SpaceX, and enjoined. If not declared unlawful and
 2   enjoined, the Commission’s demands will irreparably harm not only SpaceX but also
 3   the important federal interests served by the Base’s Falcon 9 launch program.
 4       COUNT V: For Declaratory and Injunctive Relief, and Damages
 5      (Retaliation in Violation of U.S. Const. amend. I; 42 U.S.C. § 1983)
   (Against All Defendants, Including All Individual Defendants in their Official
 6 Capacities, and Against Defendants Hart, Cummings, Wilson, and Newsom in

 7                           their Personal Capacities)

 8         146. Plaintiff incorporates by reference all preceding allegations.
 9         147. The Commission’s 6-4 vote against SpaceX’s plan to increase Falcon 9
10   launches was substantially based upon the Commissioners’ bias and animus against
11   SpaceX based on the political views of its largest shareholder and CEO, Elon Musk.
12   It therefore constitutes prohibited retaliation in violation of the First Amendment to
13   the U.S. Constitution, applicable against Defendants pursuant to the Fourteenth
14   Amendment and 42 U.S.C. § 1983.
15         148. To prevail on a claim for First Amendment retaliation, a plaintiff must
16   show that “(1) he was engaged in a constitutionally protected activity, (2) the
17   defendant’s actions would chill a person of ordinary firmness from continuing to
18   engage in the protected activity, and (3) the protected activity was a substantial or
19   motivating factor in the defendant’s conduct.” Pinard v. Clatskanie Sch. Dist. 6J,
20   467 F.3d 755, 770 (9th Cir. 2006). The Commissioners’ public statements and
21   conduct clearly establish each element of this test.
22         149. Mr. Musk is the CEO and largest shareholder of SpaceX. Mr. Musk’s
23   public political statements and opinions are protected by the First Amendment.
24         150. Political speech “occupies the core of the protection afforded by the
25   First Amendment.” McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 346 (1995).
26   SpaceX has a right to be free from retaliation for the political views of its owners.
27   See, e.g., Pagan v. Calderon, 448 F.3d 16, 30 (1st Cir. 2006) (“When a government
28

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 1   actor discriminates against a corporation based on a protected trait of a
 2   [shareholder], . . . the corporation . . . has standing to seek redress.”).
 3          151. As the October 10, 2024 hearing and other statements by
 4   Commissioners show, the Commission made clear that its actions to not concur with
 5   the Air Force’s consistency determination and to demand that SpaceX obtain a CDP
 6   are motivated by disagreement and concern with Mr. Musk’s political expressions.
 7          152. Several Commissioners—including Hart, Cummings, Wilson, and
 8   Newsom—made statements showing that political bias and disagreement with the
 9   protected speech of Mr. Musk motivated the Commission’s actions adversely
10   affecting SpaceX. For example:
11                 a. Commission Chair Hart stated that a factor motivating her to vote to
12                    not concur with the Air Force’s consistency determination and to
13                    demand that SpaceX obtain a CDP was that “we’re dealing with a
14                    company . . . the head of which has aggressively injected himself
15                    into the Presidential race and made it clear what his point of view
16                    is.”
17                 b. Commissioner Newsom accused Mr. Musk of “hopping about the
18                    country, spewing and tweeting political falsehoods and attacking
19                    FEMA while claiming his desire to help the hurricane victims with
20                    free Starlink access.”
21                 c. Commissioner Wilson said that Mr. Musk controls “one of the most
22                    extensive communications networks on the planet,” and that, “just
23                    last week,” Mr. Musk was “speaking about political retribution on a
24                    national stage.”
25                 d. Commissioner Cummings “share[d] some concerns . . .
26                    Commissioner Wilson brought up” regarding use of Starlink and
27                    Mr. Musk’s political beliefs: “And so while . . . we are all trying to
28                    operate in this apolitical space, we do know that the person who

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 1                    controls these companies has enough power to not work in the best
 2                    interest, when they feel like it, of our allies.”
 3         153. These comments were made during the public hearing as explanations
 4   for the Commissioners’ decision to not concur in the Air Force’s consistency
 5   determination and to demand that SpaceX obtain a CDP.
 6         154. Independent of the concurrence vote, seven Commissioners—including
 7   Wilson and Cummings, who voted to concur in the consistency determination—
 8   clearly stated their position that SpaceX must obtain a CDP. Of these seven, four
 9   Commissioners—Hart, Newsom, Cummings, and Wilson—made explicit that they
10   were substantially motivated by disagreement with Mr. Musk’s political
11   expressions.
12         155.     SpaceX has a right under the First Amendment to conduct its business
13   without retaliation by state officials who disagree with or dislike SpaceX’s lawful
14   policies and practices, or the political views of its CEO or owners. None of the
15   policies and practices unlawfully criticized by the Commission pertain to any matter
16   subject to the Commission’s lawful purview. Statements by Commissioners,
17   including those quoted above, also show that the Commission’s action adverse to
18   SpaceX was substantially motivated by animus and bias against the protected speech
19   of SpaceX and its owner Mr. Musk.
20         156. The Commission’s actions seeking to regulate SpaceX’s Falcon 9
21   launch program at the Base as federally permitted activity and to require SpaceX to
22   obtain a coastal development permit, and its threatened enforcement actions against
23   SpaceX—which actions are expressly motivated by political disagreement and
24   bias—clearly “would chill or silence a person of ordinary firmness from future First
25   Amendment activities.” Lacey v. Maricopa Cnty., 693 F.3d 896, 916 (9th Cir. 2012)
26   (quoting Crawford-El v. Britton, 93 F.3d 813, 826 (D.C. Cir. 1996), vacated on other
27 grounds, 117 S. Ct. 2451 (1997)). Faced with threatened enforcement and the cost

28 and delay of burdensome permitting and approval processes the Commission

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 1   unlawfully seeks to impose, “a person of ordinary firmness” would feel constrained
 2   from future exercises of the protected activity that prompted the Commission’s
 3   decision.
 4         157. It is also clear that, based on this political bias against Mr. Musk, the
 5 Commission is treating SpaceX differently than other commercial space launch

 6 operators. Commission Chair Hart confirmed that the retaliation was directed at

 7 SpaceX. Commission Chair Hart said, “[t]he concern is with SpaceX increasing its

 8 launches, not with the other companies increasing their launches.” Indeed, the

 9 Commission recently approved a cadence of 60 launches per year for another

10 operator and did not demand a CDP. This obvious inconsistent treatment

11   demonstrates the Commission’s animus and bias against the protected speech of
12   SpaceX and its owner Mr. Musk.
13         158. Accordingly, the Commission’s decision to not concur in the Air
14   Force’s consistency determination and demands that SpaceX submit a consistency
15   certification and obtain a CDP should be declared unlawful under the First
16   Amendment of the U.S. Constitution, unenforceable against SpaceX, and enjoined.
17   If not declared unlawful and enjoined, the Commission’s demands will irreparably
18   harm not only SpaceX but also the important federal interests served by the Base’s
19   Falcon 9 launch program.
20         159. As a result of Defendants’ actions, SpaceX has suffered and will
21   continue to suffer hardship and actual and impending injury, loss, and damage.
22         160. Their own public statements at Commission hearings show that
23   Commissioners Hart and Newsom acted with retaliatory animus against Mr. Musk
24   for his political views and acts and voted not to concur based upon these. The
25   Commissioners therefore are liable in their personal capacities for compensatory
26   damages by voting not to concur based on their retaliatory animus toward SpaceX’s
27   owner, Mr. Musk.
28         161. Additionally, similar hostile statements at Commission hearings by

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 1   Commissioners Hart, Newsom, Wilson, and Cummings attacking Mr. Musk and his
 2   political views and acts show that they acted with retaliatory animus in demanding
 3   that SpaceX obtain a CDP for launches.
 4         162. Furthermore, Commissioners Hart, Newsom, Wilson, and Cummings
 5   acted knowingly, willfully, and maliciously, and with reckless and callous disregard
 6   for SpaceX and its CEO’s clearly established and constitutionally protected rights,
 7   justifying an award of punitive damages in amounts sufficient to punish each of them
 8   and discourage others from engaging in similar gross abuse of the public trust and
 9   governmental power.
10
           COUNT VI: For Declaratory and Injunctive Relief, and Damages
11                 (Deprivation of Liberty Without Due Process of Law
                in Violation of U.S. Const. amend. XIV; 42 U.S.C. § 1983)
12
         (Against All Defendants, Including All Individual Defendants in their
13    Official Capacities, and Against Defendants Hart, Cummings, Rice, Wilson,
                        and Newsom in their Personal Capacities)
14

15         163. Plaintiff incorporates by reference all preceding allegations.
16         164. Under the Due Process Clause of the Fourteenth Amendment, SpaceX
17   is entitled to have its government permits considered by government officials
18   without taint of political bias and animus.
19         165. SpaceX has constitutionally protected liberty and property interests to
20   seek all permits and agency approvals and reviews, without political bias or reprisal,
21   needed to conduct its business of launching Falcon 9 rockets at the Base.
22         166. The Due Process Clause prevents a government entity from depriving
23   a plaintiff of a protected interest without “a fair trial in a fair tribunal.” In re
24   Murchison, 349 U.S. 133, 136 (1955); see also Mathews v. Eldridge, 424 U.S. 319,
25   333 (1976) (“The fundamental requirement of due process is the opportunity to be
26   heard ‘at a meaningful time and in a meaningful manner.’”) (quoting Armstrong v.
27   Manzo, 380 U.S. 545, 552 (1965)). This requirement applies not only in courts, but
28   also in administrative proceedings regarding licenses and permitting. See Stivers v.

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 1   Pierce, 71 F.3d 732, 741 (9th Cir. 1995).
 2         167. To state a procedural due process claim, a plaintiff must allege facts
 3   showing: “(1) a liberty or property interest protected by the Constitution; (2) a
 4   deprivation of the interest by the government; [and] (3) lack of [adequate] process.”
 5   Portman v. Cnty. of Santa Clara, 995 F.2d 898, 904 (9th Cir. 1993). A plaintiff may
 6   establish it has been denied its constitutional right to a fair hearing before an
 7   impartial tribunal by showing either actual bias on the part of the adjudicator, or the
 8   “appearance of partiality that violates due process, even without any showing of
 9   actual bias.” Stivers, 71 F.3d at 741.
10         168. Here, the statements by Commissioners Hart, Cummings, Rice, Wilson,
11   and Newsom and the disparate treatment of SpaceX compared to other commercial
12   space launch operators at the Base all provide clear evidence of bias.
13         169. SpaceX has constitutionally protected interests to petition the
14   government, including proceedings before the Commission, without facing bias or
15   reprisal. For the reasons set forth above, the October 10, 2024 hearing and other
16   proceedings addressing SpaceX’s Falcon 9 launch program at the Base were
17   irremediably tainted by the Commissioners’ political bias and animus toward Elon
18   Musk, the CEO and largest owner of SpaceX. The Commission, therefore, interfered
19   with SpaceX’s liberty interests protected under the Fourteenth Amendment.
20         170. SpaceX also has a constitutionally protected property interest in its
21   business of launching Falcon 9 rockets on the Base. Because the Commission has
22   employed a blatantly biased and partisan process for deciding the conditions for
23   SpaceX’s business activities on the Base, retaliating against Mr. Musk and SpaceX
24   for their protected speech about political views and for their employment practices,
25   the Commission has also interfered with SpaceX’s property interests protected by
26   the Fourteenth Amendment.
27         171. Accordingly, the Commission’s decision to not concur in the Air
28   Force’s consistency determination and demands that SpaceX submit a consistency

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 1   certification and obtain a CDP should be declared unlawful under the Fourteenth
 2   Amendment of the U.S. Constitution, unenforceable against SpaceX, and enjoined.
 3   If not declared unlawful and enjoined, the Commission’s demands will irreparably
 4   harm not only SpaceX but also the important federal interests served by the Base’s
 5   Falcon 9 launch program.
 6         172. As a result of Defendants’ actions, SpaceX has suffered and will
 7   continue to suffer hardship and actual and impending injury, loss, and damage.
 8         173. Commissioners Hart, Cummings, Rice, Wilson, and Newsom are liable
 9   in their personal capacities for compensatory damages because their biased
10   statements, including statements at the October 10, 2024 Commission meeting,
11   infected the entire proceeding with bias, thereby depriving SpaceX of its right to a
12   fair hearing.
13         174. In acting as alleged herein, Commissioners Hart, Cummings, Rice,
14   Wilson, and Newsom acted knowingly, willfully, and maliciously, and with reckless
15   and callous disregard for SpaceX’s clearly established and constitutionally protected
16   rights, justifying an award of punitive damages in an amount sufficient to punish
17   these individual Defendants and discourage others from engaging in similar gross
18   abuse of the public trust and governmental power.
19                              VII. JURY TRIAL DEMAND
20         Pursuant to Federal Rule of Civil Procedure 38(b), SpaceX demands a trial
21   by jury on all issues so triable.
22                              VIII. REQUEST FOR RELIEF
23         In light of the foregoing, Plaintiff respectfully requests that the Court grant
24 the following relief:

25         A.        Declare that SpaceX’s Falcon 9 launch program at the Base is “federal
26 agency activity” under the CZMA and does not require a consistency certification;

27         B.        Enjoin the Commission from regulating the Falcon 9 launch program
28   at the Base as “federally permitted activity” under the CZMA;

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 1           C.   Declare that the Commission lacks authority to require a CDP for the
 2   Base’s Falcon 9 launch program operated by SpaceX;
 3           D.   Declare that the Commission’s decision to not concur in the Air Force’s
 4   consistency determination and to demand that SpaceX submit a consistency
 5   certification and obtain a CDP violate the First and Fourteenth Amendment of the
 6   U.S. Constitution and are unenforceable against SpaceX;
 7           E.   Enjoin the Commission from enforcing the Coastal Act and its CDP
 8   requirement against SpaceX in connection with the Falcon 9 launch program at the
 9   Base;
10           F.   Award SpaceX its compensatory damages, in an amount subject to
11   proof at trial, against the specified Individual Defendants in their personal capacities
12   under 28 U.S.C. § 1983; or, in the alternative,
13           G.   Award SpaceX nominal damages against the specified Individual
14   Defendants in their personal capacities, under 28 U.S.C. § 1983;
15           H.   Award SpaceX punitive damages, in an amount to be determined
16   according to proof at trial, against the specified Individual Defendants in their
17   personal capacities, under 28 U.S.C. § 1983;
18           I.   Award SpaceX its attorney’s fees and costs under 28 U.S.C. § 1988 and
19   other applicable law; and
20           J.   Grant such other relief to which Plaintiff is justly entitled.
21
                                               VENABLE LLP
22    Dated: November 26, 2024
23                                       By:     /s/ Tyler Welti
                                                Tyler G. Welti
24                                              Colin B. Vandell
                                                Mitchell Y. Mirviss (pro hac vice)
25
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27

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